









NUMBER 13-01-567-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________


JOSE ANGEL LUNA , Appellant,


v.

       

THE STATE OF TEXAS, Appellee.

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On appeal from the County Court at Law No. 2 

of Victoria County, Texas.

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O P I N I O N

Before Chief Justice Valdez and Justices Hinojosa and Yanez

Opinion Per Curiam



Appellant, JOSE ANGEL LUNA , perfected an appeal from a judgment entered by the County Court at Law No. 2 of
Victoria County, Texas,  in cause number 2-75,822 .  Appellant has filed a motion to dismiss the appeal.  The motion
complies with Tex. R. App. P. 42.2(a).

 The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 11th day of October, 2001 .


